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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    DUBLIN DIVISION

RONALD B. GRAY,                               )
                                              )
              Plaintiff,                      )
                                              )
        v.                                    )          CV 318-045
                                              )
ANDRIA MAYBERRY                               )
and THE TMG FIRM, LLC,                        )
                                              )
              Defendants.                     )
                                         _________

                                         ORDER
                                         _________

        Defendant Mayberry filed a motion for summary judgment on September 16, 2020

(doc. no. 88), nearly three weeks after the deadline for dispositive motions expired on August

27, 2020. (Doc. no. 73). Although the Court does not condone such tardiness, it will accept

the filing because considering the merits of a summary judgment prior to trial serves the

interest of judicial economy.      Because Defendant Mayberry’s certificate of service

incorrectly lists Plaintiff’s Georgia Department of Corrections number, the Court DIRECTS

Defendant Mayberry to re-serve her motion for summary judgment on Plaintiff by September

22, 2020.    The Court EXTENDS the deadline for Plaintiff to respond to Defendant

Mayberry’s motion for summary judgment, (doc. no. 88), through and including October 19,

2020.

        SO ORDERED this 18th day of September, 2020, at Augusta, Georgia.
